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ASD/ajs
AO 442 (Rev. 11/11) Arrest Warrant



                                       UNITED STATES DISTRICT COURT
                                                                  for the

                                                           District of Minnesota
      UNITED STATES OF AMERICA

                           v.
                                                                               Case No. 22-MJ-530 BRT
      SHAMIR NATHANN BLACK


                                                           ARREST WARRANT
To:           Any authorized law enforcement officer

        YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)SHAMIR NATHANN BLACK,
who is accused of an offense or violation based on the following document filed with the court:

         Indictment               Superseding Indictment        Information         Superseding Information X              Complaint
         Probation Violation Petition          Supervised Release Violation Petition           Violation Notice              Order of the Court

       On or about June 9, 2022, in Hennepin County, in the State and District of Minnesota, defendant took a motor vehicle
       that had been transported, shipped, and received in interstate and foreign commerce from the vehicle’s owner, by force,
       violence, and intimidation, with the intent to cause death and serious bodily harm,

       in violation of Title 18, United States Code, Section 2119.


      Date:    ________________________
                                                                                               Issuing officer’s signature

      City and State: St. Paul, MN                                       The Honorable Becky R. Thorson
                                                                         United States Magistrate Judge
                                                                                                Printed Name and Title



                                                                      Return

             This warrant was received on (date)                            , and the person was arrested on (date)
   at (city and state)                                            .

   Date:
                                                                                               Arresting officer’s signature
      SUBSCRIBED and SWORN before me
      by reliable electronic means via Facetime, Zoom,
      and email pursuant to Fed. R. Crim. P. 41(d)(3)                                             Printed name and title
